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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                     SAN FRANCISCO DIVISION

                                  11

                                  12     X CORP.,
Northern District of California




                                                                                          Case No. 23-mc-80245-PHK
 United States District Court




                                  13                    Plaintiff,

                                  14             v.                                       JUDICIAL REFERRAL ORDER

                                  15     ERNST & YOUNG, LLP,
                                  16                    Defendant.

                                  17

                                  18          Pursuant to Civil Local Rule 3-12(c), IT IS HEREBY ORDERED that the above

                                  19   captioned case is referred to Judge Thomas S. Hixson to determine whether this case is related to

                                  20   United States of America v. Twitter, Inc., Case No. 3:22-cv-03070-TSH.
                                                                                                             S DISTRICT
                                  21          IT IS SO ORDERED.                                           ATE           C
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                                  22   Dated: October 10, 2023
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                                  27                                                  PETER H. KANG
                                                                                      United States Magistrate Judge
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